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             U N I T E D S TAT E S D I S T R I C T C O U RT
          FOR THE SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION


 Richard Lowery, on behalf of himself          Civil Action No.
 and others similarly situated,                4:22-cv-03091

                       Plaintiff,
                                               Judge Charles Eskridge
 v.

 Texas A&M University System, et al.,

                       Defendants.


PLAINTIFF’S FOURTH ADDITIONAL NOTICE TO THE COURT
      Interim president Mark A. Welsh III continues to double down on Texas A&M

university’s discriminatory faculty hiring and shows that he has no intention of

changing these practices in response to SB 17. On August 15, 2023, the interim pres-

ident sat down for a virtual all-faculty-and-staff meeting, which has been since up-

loaded to YouTube, and made the following remarks:

        We have to redouble our efforts to attract faculty of color. We need to
        redouble our efforts to attract students of color. And there’s nothing
        in any state legislation that keeps us from doing that. We just have to
        get serious about the job. And so we plan to do that.
https://youtu.be/DhZR5JD2Aw8?t=243 (last visited on August 18, 2023). These

remarks show that the university intends to go beyond the discriminatory prefer-
ences that it was already conferring on female and minority faculty candidates, and

they make clear that the university does not believe that SB 17 prevents it from doing

so.
      The interim president also said:



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       I also believe that diversity is a strength. I believe inclusion of all peo-
       ple, all ideas, all voices in an imperative for success in large organiza-
       tions. And I believe equity is just a way we ought to live our lives. And
       so I think we can do all things that we need to be doing here, and not
       be scared of repercussions from anywhere outside Texas A&M Uni-
       versity, because they make common sense, and common sense should
       be the first standard we apply here.
https://youtu.be/DhZR5JD2Aw8?t=570 (last visited on August 18, 2023). This not

only endorses the pursuit of “diversity” and “equity,” presumably at the expense of

meritocracy, but also declares that the university has no fear of repercussions from

outside the university—including from the state legislature or the state and federal
courts—if it continues these pursuits.

    Finally, the interim president described himself as the university’s “chief diver-

sity officer,” an astounding claim to make when diversity officers at public universi-
ties have been explicitly abolished by SB 17. He said:

       I think the university president is kind of the chief everything. You’re
       the chief diversity officer, you’re the chief strategist, you’re the chief
       spokesperson, I believe.
https://youtu.be/DhZR5JD2Aw8?t=653 (last visited on August 18, 2023).

    The pleadings said it well: “The use of race and sex preferences—as well as out-

right set-asides—is pervasive throughout the university’s faculty hiring, and the

problem extends far beyond the ACES Plus program and the other discrete episodes

mentioned in this complaint.” First Am. Compl., ECF No. 19, at ¶ 30. The behavior
and public statements of university officials since SB 17’s enactment have only cor-

roborated the truth of this allegation. The university and its officials are determined

to continue their discriminatory preferences for female and non-Asian minorities
when hiring faculty, and idea that SB 17 will usher in a new regime of colorblind and

sex-neutral appointments at Texas A&M becomes more fanciful by the day.



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                               CONCLUSION
   The motion to dismiss for lack of justiciability should be denied.

                                          Respectfully submitted.

                                           /s/ Jonathan F. Mitchell
Gene P. Hamilton                          Jonathan F. Mitchell
Virginia Bar No. 80434                    Attorney in Charge
Vice-President and General Counsel        Texas Bar No. 24075463
America First Legal Foundation            S.D. Tex. Bar No. 1133287
300 Independence Avenue SE                Mitchell Law PLLC
Washington, DC 20003                      111 Congress Avenue, Suite 400
(202) 964-3721 (phone)                    Austin, Texas 78701
gene.hamilton@aflegal.org                 (512) 686-3940 (phone)
                                          (512) 686-3941 (fax)
                                          jonathan@mitchell.law

                                          Counsel for Plaintiff and
Dated: August 18, 2023                    the Proposed Class




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                         CERTIFICATE OF SERVICE
    I certify that on August 18, 2023, I served this document through CM/ECF

upon:

M. Carter Crow
Layne E. Kruse
Paul Trahan
Ryan Meltzer
Jesika Silva Blanco
1301 McKinney, Suite 5100
Houston, Texas 77010-3095
(713) 651-5151 (phone)
(713) 651-5246 (fax)
carter.crow@nortonrosefulbright.com
layne.kruse@nortonrosefulbright.com
paul.trahan@nortonrosefulbright.com
ryan.meltzer@nortonrosefulbright.com
jesika.blanco@nortonrosefulbright.com

Counsel for Defendants

                                         /s/ Jonathan F. Mitchell
                                        Jonathan F. Mitchell
                                        Counsel for Plaintiff and the Proposed Class




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